Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 1 of 91 PageID: 9




                  EXHIBIT A
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 2 of 91 PageID: 10
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 3 of 91 PageID: 11
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 4 of 91 PageID: 12
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 5 of 91 PageID: 13
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 6 of 91 PageID: 14
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 7 of 91 PageID: 15
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 8 of 91 PageID: 16
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 9 of 91 PageID: 17
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 10 of 91 PageID: 18
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 11 of 91 PageID: 19
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 12 of 91 PageID: 20
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 13 of 91 PageID: 21
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 14 of 91 PageID: 22
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 15 of 91 PageID: 23
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 16 of 91 PageID: 24
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 17 of 91 PageID: 25
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 18 of 91 PageID: 26
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 19 of 91 PageID: 27
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 20 of 91 PageID: 28
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 21 of 91 PageID: 29
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 22 of 91 PageID: 30
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 23 of 91 PageID: 31
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 24 of 91 PageID: 32
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 25 of 91 PageID: 33
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 26 of 91 PageID: 34
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 27 of 91 PageID: 35
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 28 of 91 PageID: 36
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 29 of 91 PageID: 37
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 30 of 91 PageID: 38
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 31 of 91 PageID: 39
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 32 of 91 PageID: 40
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 33 of 91 PageID: 41
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 34 of 91 PageID: 42
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 35 of 91 PageID: 43
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 36 of 91 PageID: 44
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 37 of 91 PageID: 45
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 38 of 91 PageID: 46
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 39 of 91 PageID: 47
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 40 of 91 PageID: 48
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 41 of 91 PageID: 49
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 42 of 91 PageID: 50
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 43 of 91 PageID: 51
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 44 of 91 PageID: 52
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 45 of 91 PageID: 53
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 46 of 91 PageID: 54
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 47 of 91 PageID: 55
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 48 of 91 PageID: 56
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 49 of 91 PageID: 57
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 50 of 91 PageID: 58
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 51 of 91 PageID: 59
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 52 of 91 PageID: 60
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 53 of 91 PageID: 61
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 54 of 91 PageID: 62
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 55 of 91 PageID: 63
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 56 of 91 PageID: 64
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 57 of 91 PageID: 65
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 58 of 91 PageID: 66
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 59 of 91 PageID: 67
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 60 of 91 PageID: 68
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 61 of 91 PageID: 69
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 62 of 91 PageID: 70
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 63 of 91 PageID: 71
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 64 of 91 PageID: 72
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 65 of 91 PageID: 73
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 66 of 91 PageID: 74
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 67 of 91 PageID: 75
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 68 of 91 PageID: 76
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 69 of 91 PageID: 77
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 70 of 91 PageID: 78
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 71 of 91 PageID: 79
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 72 of 91 PageID: 80
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 73 of 91 PageID: 81
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 74 of 91 PageID: 82
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 75 of 91 PageID: 83
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 76 of 91 PageID: 84
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 77 of 91 PageID: 85
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 78 of 91 PageID: 86
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 79 of 91 PageID: 87
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 80 of 91 PageID: 88
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 81 of 91 PageID: 89
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 82 of 91 PageID: 90
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 83 of 91 PageID: 91
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 84 of 91 PageID: 92
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 85 of 91 PageID: 93
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 86 of 91 PageID: 94
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 87 of 91 PageID: 95
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 88 of 91 PageID: 96
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 89 of 91 PageID: 97
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 90 of 91 PageID: 98
Case 3:22-cv-05443-GC-DEA Document 1-1 Filed 09/07/22 Page 91 of 91 PageID: 99
